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                   UNITED STATES BANKRUPTCY COURT
                 EASTERN DISTRICT OF NORTH CAROLINA
                         GREENVILLE DIVISION

IN RE:                          )
                                )              Case No. 19-00730-5-JNC
CAH ACQUISITION COMPANY #1, LLC,)
d/b/a     WASHINGTON    COUNTY)                Chapter 11
HOSPITAL,                       )
                                )
           Debtor.              )
                                )
IN RE:                          )
                                )              Case No. 19-01298-5-JNC
CAH ACQUISITION COMPANY 7, LLC,)
d/b/a PRAGUE COMMUNITY HOSPITAL,)              Chapter 11
                                )
           Debtor.              )
                                )
                                )
IN RE:                          )
                                )              Case No. 19-01697-5-JNC
CAH ACQUISITION COMPANY 12, LLC,)
d/b/a     FAIRFAX    COMMUNITY)                Chapter 11
HOSPITAL,                       )
                                )
           Debtor.              )
                                )
IN RE:                          )
                                )              Case No. 19-01227-5-JNC
CAH ACQUISITION COMPANY 16, LLC,)
d/b/a HASKELL COUNTY COMMUNITY)                Chapter 11
HOSPITAL,                       )
                                )
           Debtor.              )
                                )

     TRUSTEE’S MOTION FOR (I) AN ORDER CONFIRMING THAT (A) CERTAIN
        STIMULUS FUNDS WERE USED IN ACCORDANCE WITH APPLICABLE
         TERMS AND CONDITIONS AND (B) TRUSTEE MAY TRANSFER ANY
        REMAINING STIMULUS FUNDS TO PURCHASERS; AND (II) AN ORDER
       ELIMINATING ANY LIABILITY OF TRUSTEE AND DEBTORS’ ESTATES
                       FOR USE OF STIMULUS FUNDS




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       Thomas W. Waldrep, Jr., the duly appointed Chapter 11 Trustee (the “Trustee”) in the cases

of CAH Acquisition Company 1, LLC d/b/a Washington Community Hospital (“Washington”);

CAH Acquisition       Company 7,     LLC      d/b/a Prague    Community Hospital        (“Prague”);

CAH Acquisition Company 12, LLC d/b/a Fairfax Community Hospital (“Fairfax”); and

CAH Acquisition Company 16, LLC d/b/a Haskell County Community Hospital (“Haskell”)

(collectively, the “Hospitals”), hereby moves the Court, pursuant to Section 363 of the Bankruptcy

Code for (i) an Order confirming that (a) the Trustee used certain COVID-19-related stimulus

funds (the “Used Funds”) in accordance with applicable terms and conditions (“T&Cs”) and (b)

the Trustee may transfer any remaining COVID-19-related stimulus funds the Trustee has in his

possession (the “Unused Funds,” and together with the Used Funds, the “Funds”) to purchasers of

the Hospitals (collectively, the “Purchasers”) to be used in accordance with applicable T&Cs; and

(ii) an Order barring the U.S. Department of Health and Human Services or any other government

entity (“HHS”) from holding the Trustee or the bankruptcy estates of the various Hospitals liable

for any use of the Funds. In support hereof, the Trustee respectfully shows the Court and interested

parties as follows:

                                    Jurisdiction and Venue

       1.      The United States Bankruptcy Court for the Eastern District of North Carolina (the

“Court”) has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This matter is

a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue of this bankruptcy case

and this Motion are proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.      The statutory predicate for the relief sought herein is Section 363 of the Bankruptcy

Code in that the Court’s ruling on the Motion will aid in the consummation of certain Court-

approved sales.



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                                       Background Facts

A. Washington

        3.     On February 19, 2019, three creditors of Washington—Medline Industries, Inc.;

Robert Venable, M.D.; and Washington County, North Carolina—filed an involuntary petition for

relief under Chapter 7 of the Bankruptcy Code in the Court. On March 15, 2019, this Court

entered its Order converting Washington’s case to a case under Chapter 11 of the Bankruptcy

Code.

        4.     On February 22, 2019, during the pendency of the Chapter 7 portion of

Washington’s case, the Trustee was appointed as interim trustee for Washington. On March 15,

2019, upon conversion of the case, the Trustee was appointed as Chapter 11 Trustee for

Washington pursuant to Section 1104 of the Bankruptcy Code. No official committee of

unsecured creditors was appointed in this case.

        5.     Washington is a for-profit 25-bed hospital. Washington is classified a Critical-

Access Hospital (“CAH”) by the Centers for Medicare and Medicaid Services (“CMS”).

        6.     The Trustee closed the sale of Washington to Affinity Health Partners, LLC on

April 20, 2020 (the “Washington Closing Date”).

   I. Washington: First Round of Funds

        7.     On March 27, 2020, the Coronavirus Aid, Relief, and Economic Security Act (the

“CARES Act”) was signed into law.

        8.     Under the CARES Act, Congress allocated $100 billion (the “Provider Relief

Fund”) to HHS “to prevent, prepare for, and respond to coronavirus, domestically or




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internationally, for necessary expenses to reimburse . . . eligible health care providers for health

care related expenses or lost revenues that are attributable to coronavirus.” Pub. L. 116-136.

       9.      Eligible health care providers are those providers “that provide diagnoses, testing,

or care for individuals with possible or actual cases of COVID-19.” Pub. L. 116-136.

       10.     Of the $100 billion allocated to HHS through the CARES Act, $50 billion of the

Provider Relief Fund was allocated for general distribution to Medicare facilities and providers

impacted by COVID-19, based on eligible providers’ net patient revenue. Of that $50 billion in

the Provider Relief Fund, an initial $30 billion was distributed between April 10, 2020 and April

17, 2020 (the “First Round”). The remaining $20 billion was distributed starting April 24, 2020

(the “Second Round”).       HHS.gov, CARES Act Provider Relief Fund, (May 11, 2020),

https://www.hhs.gov/coronavirus/cares-act-provider-relief-fund/index.html.

       11.     HHS broadly views every patient as a possible case of COVID-19. HHS.gov,

CARES Act Provider Relief Fund, (May 11, 2020), https://www.hhs.gov/coronavirus/cares-act-

provider-relief-fund/index.html.

       12.     Under the T&Cs governing the First Round, the First Round funds can be used to

reimburse the recipient only for health care related expenses or lost revenues that are attributable

to coronavirus after January 31, 2020. HHS.gov, DEPARTMENT OF HEALTH AND HUMAN SERVICES,

RELIEF FUND PAYMENT        FROM     INITIAL $30 BILLION GENERAL DISTRIBUTION TERMS               AND

CONDITIONS (2020),       (May      11,   2020),   https://www.hhs.gov/sites/default/files/terms-and-

conditions-provider-relief-30-b.pdf.

       13.     On April 10, 2020, Washington received $161,947.49 from the First Round.




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       14.     Washington is an eligible health care provider under the CARES Act because it

provided diagnoses, testing, or care for individuals with possible or actual cases of COVID-19

after January 31, 2020.

       15.     The Washington Closing Date was April 20, 2020. Washington received the First

Round disbursement on April 10, 2020. Accordingly, the Washington First Round funds were not

sold to Affinity Health Partners, LLC because, among other reasons, they constitute excluded

assets as cash and cash equivalents under the Asset Purchase Agreement for Washington (the

“Washington APA”).

   II. Washington: Second Wave of First Round

       16.     Upon information and belief, there was a second wave of First Round funding

released in mid-to-late April.

       17.     The T&Cs of the first wave of the First Round continue to apply to the second wave

of the First Round.

       18.     Washington received $60,738.82 from the second wave of the First Round on April

24, 2020.

       19.     As stated above, the Washington Closing Date was April 20, 2020.

Notwithstanding the timing of the Washington Closing Date, however, the Trustee did not sell the

second wave of the First Round funds to Affinity Health Partners, LLC because the Washington

APA does not contemplate the Funds. Further, when this Court approved the Washington APA,

neither COVID-19 nor any stimulus funds related thereto, were considered by the parties or the

Court. Neither the parties nor the Court had any knowledge of them. Therefore, the Funds were

not included in the sale to Affinity Health Partners, LLC. Congress allocated the Funds to the

Hospitals to remedy a situation that was most desperate during the Trustee’s control of the



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Hospitals. It could not have been the intent of Congress for the Funds to exclusively benefit the

Washington Purchaser that only took control of the Hospital after the initial COVID-19 wave

occurred. In fact, if the Washington APA is interpreted to require the transfer of all Funds that the

Trustee received after the Washington Closing Date, then Washington’s bankruptcy estate will not

be reimbursed for the expenses that it incurred fighting COVID-19 or receive the related lost

revenue, violating Congressional intent. Instead, the Washington Purchaser would benefit for lost

revenue that it never experienced and expenses that it never paid.

   III. Washington: Rural Relief Fund

        20.      Of the remaining $50 billion in the Provider Relief Fund, $10 billion was paid to

rural healthcare providers (the “Rural Relief Fund”). HHS.gov, CARES Act Provider Relief Fund,

(May 11, 2020), https://www.hhs.gov/coronavirus/cares-act-provider-relief-fund/index.html.

        21.      Eligible recipients of the Rural Relief Fund include CAHs. HHS.gov, CARES Act

Provider Relief Fund, (May 11, 2020), https://www.hhs.gov/coronavirus/cares-act-provider-relief-

fund/index.html.

        22.      The permissible uses of the Rural Relief Fund are the same as those of the First

Round funds. DEPARTMENT OF HEALTH AND HUMAN SERVICES, RURAL RELIEF FUND PAYMENT

TERMS   AND    CONDITIONS (2020), (May 11, 2020), https://www.hhs.gov/sites/default/files/terms-

and-conditions-rural-relief-fund.pdf.

        23.      On May 6, 2020, Washington received $3,340,513.28 from the Rural Relief Fund.

        24.      Washington is an eligible health care provider under the Rural Relief Fund because

it is a CAH.




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       25.     For the reasons stated above, notwithstanding the timing of the Washington Closing

Date, the Trustee did not sell the funds from the Rural Relief Fund to Affinity Health Partners,

LLC.

   IV. Washington: Total Disbursements

       26.     In summary, Washington received three disbursements: (1) $161,947.49 from the

First Round of the Provider Relief Fund; (2) $60,738.82 from the second wave of the First Round

of the Provider Relief Fund; and (3) $3,340,513.28 from the Rural Relief Fund. In total,

Washington received Funds of $3,563,199.59.

   V. Washington: Total Used & Total Remaining

       27.     According to Affinity Health Partners, LLC, Washington spent $200,695.13 on

expenses directly related to COVID-19 between February 1, 2020 and the Washington Closing

Date. See Exhibit A.

       28.     The Trustee estimates that Washington lost approximately $703,083.14 in revenue

due to the coronavirus between February 1, 2020 and the Washington Closing Date. The Trustee’s

estimation was informed by the CARES Act Provider Relief Fund General Distribution FAQs (the

“FAQs”) distributed by HHS, which gave two, non-exclusive examples of reasonable methods for

estimating reimbursable lost revenue. The first, non-exclusive example is the difference between

expected or budgeted revenues and actual revenues during the relevant time period, whereas the

second non-exclusive example is the difference between 2020 revenues and revenues in the same

period last year. The Trustee could not look to the first, non-excusive example for guidance as no

budgeted revenues exist for the Hospitals for the relevant time period. With respect to the second,

non-exclusive example, the Trustee asserts that it is improper to compare the Hospitals’ 2019

revenues to 2020 revenues because during the relevant period in 2019, the Hospitals had just



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entered bankruptcy and were barely functioning. Instead, the Trustee has used the Hospitals’

respective 2018 revenues because the Hospitals were functioning at a comparable capacity at that

time. From February 1, 2018 through April 19, 2018, Washington had Net Patient Service

Revenue (“NPSR”) of $1,768,686.00. From February 1, 2020 through the Washington Closing

Date, Washington had NPSR of $1,114,285.00. The Consumer Price Index (“CPI”) measures the

overall general upward price and services in an economy, also known as inflation. Because there

was inflation from 2018 to 2020, the 2018 NPSR is not a completely accurate tool for comparison

of revenue lost in 2020 until it is adjusted for inflation. After applying the CPI adjustment to the

2018 NPSR for April of 2020, the adjusted 2018 NPSR (“ANPSR”) is $1,817,368.14. After

subtracting the 2020 NPSR from the 2018 ANPSR, Washington lost an estimated $703,083.14 in

revenue due to the coronavirus between February 1, 2020 and the Washington Closing Date. For

monthly CPI calculations, see BLS.gov, CONSUMER PRICE INDEX INFLATION CALCULATOR, (May

14, 2020), https://www.bls.gov/data/inflation_calculator.htm.

       29.     Between expenses and lost revenue due to coronavirus, Washington has Used

Funds of $903,778.27 because such funds meet the existing guidance of the CARES Act for the

period between February 1, 2020 and the Washington Closing Date.

       30.     Washington received Funds of $3,563,199.59 and has Used Funds of $903,778.27.

Therefore, the Washington bankruptcy estate should not retain the Unused Funds of

$2,659,421.32.

B. Prague

       31.     On March 21, 2019, Prague filed a voluntary petition for relief under Chapter 11 of

the Bankruptcy Code before this Court.




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       32.     Prague’s case is jointly administered along with six other critical access hospitals

under Prague’s Chapter 11 Case. On March 29, 2019, the Trustee was appointed as Chapter 11

Trustee for Prague pursuant to Section 1104 of the Bankruptcy Code. No official committee of

unsecured creditors was appointed in this case.

       33.     Prague is a for-profit 25-bed hospital. Prague is classified a CAH by CMS.

       34.     The Trustee closed the sale of Prague to Transcendental Union with Love and

Spiritual Advancement (“TULSA”) on May 4, 2020 (the “Prague Closing Date”).

   I. Prague: First Round of Funds

       35.     On April 10, 2020, Prague received $260,869.02 from the First Round.

       36.     Prague is an eligible health care provider under the CARES Act because it provided

diagnoses, testing, or care for individuals with possible or actual cases of COVID-19 between

February 1, 2020 and the Prague Closing Date.

       37.     Prague received the First Round disbursement on April 10, 2020, before the Prague

Closing Date. Accordingly, the Prague First Round funds were not sold to TULSA because,

among other reasons, they constitute excluded assets as cash and cash equivalents under the Asset

Purchase Agreement for Prague (the “Prague APA”).

   II. Prague: OHA Grant

       38.     The Oklahoma Hospital Association Grant (the “OHA Grant”) was created to

support the urgent preparedness and response needs of hospitals and health systems related to

COVID-19. See Exhibit B.

       39.     The Oklahoma Hospital Association receives its funding from the Assistant

Secretary of Preparedness and Response of HHS. See Exhibit B.




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          40.      The OHA Grant’s permissible uses include updating pandemic or emergency

 preparedness plans to include COVID-19 preparedness activities; purchasing personal protective

 equipment; providing COVID-19 training to staff; examining certain physical infrastructural

 needs, such as minor retrofitting and alteration or inpatient care areas for enhanced infection

 control; planning and implementing expanded telemedicine and telehealth capabilities; or creating

 alternate temporary care sites. See Exhibit B.

          41.      On April 24, 2020, Prague received $5,545.00 from the OHA Grant.

          42.      As stated above, these funds were not sold to TULSA because, among other

 reasons, they constitute excluded assets as cash and cash equivalents under the Asset Purchase

 Agreement for Prague (the “Prague APA”).

       III. Prague: SHIP Grant

          43.      The Small Rural Hospital Improvement Grant Program (the “SHIP Grant”) is

 supported by HHS, specifically the Health Resources and Services Administration’s Federal

 Office of Rural Health Policy. The SHIP Grant assists eligible hospitals in meeting the costs of

 implementing data systems, including using funds to assist hospitals in participating in

 improvements in value and quality to health care.          DEPARTMENT     OF    HEALTH   AND   HUMAN

 SERVICES, SMALL RURAL HOSPITAL IMPROVEMENT PROGRAM: PROGRAM OVERVIEW (2020), (May

 11,      2020),      https://www.hrsa.gov/sites/default/files/hrsa/ruralhealth/state-support-to-rural-

 hospitals.pdf.

          44.      CAHs are eligible for the SHIP Grant. DEPARTMENT         OF   HEALTH   AND   HUMAN

 SERVICES, SMALL RURAL HOSPITAL IMPROVEMENT PROGRAM: PROGRAM OVERVIEW (2020). Id.

 See also Small Rural Hospital Improvement Grant Program (SHIP), (May 11, 2020),

 https://www.ruralcenter.org/ship.



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        45.     Generally, the SHIP Grant may be spent to (1) ensure hospitals are safe for staff

 and patients; (2) detect, prevent, diagnose, and treat COVID-19; or (3) maintain hospital operations

 affected by COVID-19. See Exhibit C.

        46.     On or about April 24, 2020, Prague received $78,499.00 from the SHIP Grant.

        47.     As stated above, these funds were not sold to TULSA because, among other

 reasons, they constitute excluded assets as cash and cash equivalents under the Prague APA.

    IV. Prague: Rural Relief Fund

        48.     On May 6, 2020, Prague received $2,896,348.19 from the Rural Relief Fund.

        49.     Prague is an eligible health care provider under the Rural Relief Fund because it is

 a CAH.

        50.     For the reasons stated above, notwithstanding the timing of the Prague Closing

 Date, the Trustee did not sell the funds from the Rural Relief Fund to TULSA. Furthermore, if the

 Prague APA were to apply to the Funds, it would indicate that the Funds constitute excluded assets

 because grants and proceeds of grants awarded to Prague are considered excluded assets under the

 Prague APA.

    V. Prague: Total Disbursements

        51.     Prague received four disbursements: (1) $260,869.02 from the First Round of the

 Provider Relief Fund; (2) $5,545.00 from the OHA Grant; (3) $78,499.00 from the SHIP Grant;

 and (4) $2,896,348.19 from the Rural Relief Fund.           In total, Prague received Funds of

 $3,241,261.21.




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    VI. Prague: Total Used and Total Remaining

        52.     According to Cohesive Healthcare Management and Consulting, Prague spent an

 estimated $69,744.65 on expenses directly related to the coronavirus between February 1, 2020

 and the Prague Closing Date. See Exhibit D.

        53.     The Trustee estimates that Prague lost an estimated $1,693,511.83 in revenue due

 to the coronavirus between February 1, 2020 and the Prague Closing Date. From February 1, 2018

 through April 30, 2018, Prague had NPSR of $1,958,617.00. From February 1, 2020 through April

 30, 2020, Prague had NPSR of $328,302.00. After applying the CPI adjustment to the 2018 NPSR

 for April of 2020, Prague’s 2018 ANPSR is $2,021,813.83. After subtracting the 2020 NPSR from

 the 2018 ANPSR, Prague lost an estimated $1,693,511.83 in revenue due to the coronavirus

 between February 1, 2020 and the Prague Closing Date.

        54.     Between expenses and lost revenue due to coronavirus, Prague has Used Funds of

 $1,763,256.48.

        55.     Prague received Funds of $3,241,261.21 and has Used Funds of $1,763,256.48.

 Therefore, Prague has Unused Funds of $1,478,004.73.

 C. Fairfax

        56.     On April 1, 2019, the state-court-appointed receiver for Fairfax filed a Chapter 11

 bankruptcy petition for Fairfax in the Bankruptcy Court for the Northern District of Oklahoma,

 Case No. 19-10641-R. On April 11, 2019, in the case of an affiliated debtor hospital, this Court

 ordered the transfer of the Oklahoma Case to this judicial district pursuant to Bankruptcy Rule

 1014(b) [Case No. 19-00730-5-JNC, Dkt. No. 133]. This case was opened as a result of that

 Order. On April 12, 2019, the Trustee was appointed to administer the estate of Fairfax. The

 Trustee is the duly appointed, qualified, and acting trustee of Fairfax’s estate.



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        57.     Fairfax is a for-profit 15-bed hospital. Fairfax is classified a CAH by CMS.

        58.     The Trustee closed the sale of Fairfax to Rural Wellness Fairfax, Inc. (“Rural

 Wellness”) on March 20, 2020 (the “Fairfax Closing Date”).

    I. Fairfax: First Round of Funds

        59.     On April 10, 2020, Fairfax received $141,037.14 from the First Round funds

 provided by the CARES Act.

        60.     Fairfax is an eligible health care provider under the CARES Act because it provided

 diagnoses, testing, or care for individuals with possible or actual cases of COVID-19 between

 February 1, 2020 and the Fairfax Closing Date.

        61.     For the reasons stated above, notwithstanding the timing of the Fairfax Closing

 Date, which occurred prior to the Trustee’s receipt of the First Round funds, the Trustee did not

 sell the funds from the First Round to Rural Wellness. Furthermore, if the Fairfax APA were to

 apply to the Funds, it would indicate that the Funds constitute excluded assets because grants and

 proceeds of grants awarded to Fairfax are considered excluded assets under the Fairfax APA.

    II. Fairfax: Rural Relief Fund

        62.     On May 6, 2020, Fairfax received $2,763,429.39 from the Rural Relief Fund.

        63.     Fairfax is an eligible health care provider under the Rural Relief Fund because it is

 a CAH.

        64.     For the reasons stated above, notwithstanding the timing of the Fairfax Closing

 Date, which occurred prior to the Trustee’s receipt of the funds from the Rural Relief Fund, the

 Trustee did not sell the funds from the Rural Relief Fund to Rural Wellness. Furthermore, if the

 Fairfax APA were to apply to the Funds, it would indicate that the Funds constitute excluded assets




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 because grants and proceeds of grants awarded to Fairfax are considered excluded assets under the

 Fairfax APA.

    III. Fairfax: Total Disbursements

         65.    Fairfax received two disbursements: (1) $141,037.14 from the First Round of the

 Provider Relief Fund and (2) $2,763,429.39 from the Rural Relief Fund. In total, Fairfax

 received Funds of $2,904,466.5.

    IV. Fairfax: Total Used and Total Remaining

         66.    According to Cohesive Healthcare Management and Consulting, Fairfax spent $0

 on expenses directly related to the coronavirus between February 1, 2020 and the Fairfax Closing

 Date.

         67.    The Trustee estimates that Fairfax lost $526,858.01 in revenue due to the

 coronavirus between February 1, 2020 and the Fairfax Closing Date. From February 1, 2018

 through March 19, 2018, Fairfax had NPSR of $618,790.00. From February 1, 2020 through

 March 19, 2020, Fairfax had NPSR of $114,949.00. After applying the CPI adjustment to the

 2018 NPSR for March of 2020, Fairfax’s 2018 ANPSR is $641,807.01 After subtracting the 2020

 NPSR from the 2018 ANPSR, Fairfax lost an estimated $526,858.01 in revenue due to the

 coronavirus between February 1, 2020 and the Fairfax Closing Date.

         68.    Between expenses and lost revenue due to coronavirus, Fairfax has Used Funds of

 $526,858.01 between February 1, 2020 and the Fairfax Closing Date.

         69.    Fairfax received Funds of $2,904,466.53 and has Used Funds of $526,858.01

 between February 1, 2020 and the Fairfax Closing Date due to expenses and lost revenue from the

 coronavirus. Therefore, between February 1, 2020 and the Fairfax Closing Date, Fairfax has

 Unused Funds of $2,377,608.52.



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 D. Haskell

        70.     On March 17, 2019, Haskell filed a voluntary petition for relief under Chapter 11

 of the Bankruptcy Code before this Court.

        71.     On March 18, 2019, the Court entered an Order approving the appointment of the

 Trustee. The Trustee is the duly appointed, qualified, and acting trustee of Haskell’s estate.

        72.     Haskell is a for-profit 25-bed hospital. Haskell is classified a CAH by CMS.

        73.     The Trustee closed the sale of Haskell to Haskell Regional Hospital, Inc. (“Haskell

 Regional”) on May 15, 2020 (the “Haskell Closing Date”).

    I. Haskell – First Round of Funds

        74.     On April 10, 2020, Haskell received $88,288.89 from the First Round funds

 provided by the CARES Act

        75.     Haskell is an eligible health care provider under the CARES Act because it

 provided diagnoses, testing, or care for individuals with possible or actual cases of COVID-19

 between February 1, 2020 and the Haskell Closing Date.

        76.     Haskell received the First Round disbursement on April 10, 2020, before the

 Haskell Closing Date. Accordingly, the Haskell First Round funds were not sold to Haskell

 Regional because, among other reasons, they constitute excluded assets as cash and cash

 equivalents under the Asset Purchase Agreement for Haskell (the “Haskell APA”).

    II. Haskell: Second Wave of First Round

        77.     Haskell received $40,222.91 from the second wave of the First Round of the

 Provider Relief Fund on April 24, 2020. Accordingly, the second wave of the Haskell First Round

 funds were not sold to Haskell Regional because, among other reasons, they constitute excluded

 assets as cash and cash equivalents under Haskell APA.



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    III. Haskell: Total Disbursements

        78.    Haskell received two disbursements: (1) $88,288.89 from the First Round of the

 Provider Relief Fund and (2) $40,222.91 from the second wave of the First Round of the

 Provider Relief Fund. In total, Haskell received Funds of $120,511.80.

    IV. Haskell: Total Used and Total Remaining

        79.    According to Cohesive Healthcare Management and Consulting, Haskell spent

 $153.95 on expenses directly related to the coronavirus between February 1, 2020 and the

 Haskell Closing Date. See Exhibit E.

        80.    The Trustee estimates that Haskell lost an estimated $1,512,053.55 in revenue due

 to the coronavirus between February 1, 2020 and May 3, 2020. From February 1, 2018 through

 April 30, 2018, Haskell had NPSR of $1,491,195.00. From February 1, 2020 through April 30,

 2020, Haskell had NPSR of $35,704.00. After applying the CPI adjustment to the 2018 NPSR for

 April of 2020, Haskell’s 2018 ANPSR is $1,547,757.55. After subtracting the 2020 NPSR from

 the 2018 ANPSR, Haskell lost an estimated $1,512,053.55 in revenue due to the coronavirus

 between February 1, 2020 and the Haskell Closing Date.

        81.    Between expenses and lost revenue due to coronavirus, Haskell has Used Funds of

 $1,512,207.50.

        82.    Haskell received Funds of $120,511.80 and has Used Funds of $1,512,207.50

 between February 1, 2020 and the Haskell Closing Date due to expenses and lost revenue from the

 coronavirus. Therefore, Haskell has no Unused Funds.




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                                        Relief Requested

 A. Used Funds in Accordance with T&Cs

        83.    The Trustee seeks confirmation that the Used Funds of the Hospitals were used in

 accordance with all applicable T&Cs and that the Trustee is now able to use the Used Funds as

 property of the Debtors’ bankruptcy estates in accordance with the Bankruptcy Code.

 B. Transfer Unused Funds to Purchasers

        84.    The Trustee also seeks confirmation that it may pass all Unused Funds to

 Purchasers to be used in accordance with applicable T&Cs.

        85.    The T&Cs indicate that the use of the Funds will be subject to various

 documentation, reporting, audit, and other compliance requirements under the T&Cs, the CARES

 Act, and any regulations promulgated pursuant thereto.

        86.    The Trustee requests that he only be responsible for any compliance requirements

 for the Used Funds. He requests that the Purchasers only be responsible for any compliance

 requirements for the Unused Funds.

 C. Bar HHS from Holding Trustee Liable

        87.    The Trustee also seeks an order barring HHS from holding the Trustee liable for

 any potential violation of any T&Cs related to the Funds.

        WHEREFORE, the Trustee respectfully requests that the Court (i) confirm that the

 Trustee’s use of the Used Funds is in accordance with all applicable T&Cs; (ii) confirm the

 Trustee’s ability to transfer the Unused Funds to purchasers of the Hospitals; (iii) prevent HHS

 from holding the Trustee liable for any use of the Funds; (iv) prevent HHS from holding the

 bankruptcy estates of the Hospitals liable for any use of the Funds; and (v) grant any such other

 relief as the Court may deem necessary and proper.



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       Respectfully submitted, this the 15th day of May, 2020.

                                            WALDREP LLP

                                            /s/ Thomas W. Waldrep, Jr.
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                                            11135)
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                                     - and –

                                            HENDREN, REDWINE & MALONE, PLLC

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                                            Co-Counsel for the Trustee




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                                       Exhibit List

  A     Washington Coronavirus Expenses

  B     OHA Grant Memorandum of Understanding

  C     SHIP Grant T&Cs

  D     Prague Coronavirus Expenses

  E     Haskell Coronavirus Expenses




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                        EXHIBIT A
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C Logo placeholder is in this cell.
o                                            COVID 19 Expense Tracker
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E Washingto Regional Medical                 Center                                                                                      Date: May 14, 2020
                                                                                                                                                                                            Case 19-01298-5-JNC




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nt Vendor             Category        Description                                     Custom column   COVID 19 Direct      Indirect            Total
     Medline           Supplies        General supplies for COVID 19                                             Yes                    Yes      $     29,036.79
     MedPRO            Staffing        Additional Staff for COVID19 Preparation                                  Yes                     No            57,630.00
     Pharmacy          Medications     Increased IV solutions                                                    Yes                    Yes            13,478.56
     PPE               Supplies        Masks, Gowns, Gloves                            NO ADDITONAL              Yes                    Yes          DONATED
     Disinfectants     Supplies        Sprays, Handwash, Housekeeping                                            Yes                    Yes             3,789.78
     Food              Food Service    Additional food for COVID Patients              NO ADDITONAL               No                     No                  -
                                                                                                                                                                                     36




     Transportation    Misc            Transportation for COVID 19                     NO ADDITONAL               No                     No                  -
     Plant Ops         Equipment       Additional requirements of Plant operations     NO ADDITONAL               No                     No                  -
     Equipment         Equipment       Additional Ventilators or Hospital Equipment    NO ADDITONAL               No                     No                  -
     Laboratory        Reagents        Additional Testing or Lab reagents                                        Yes                    Yes            96,760.00
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                                                                                                          Total Discount
                                                                                                                                       Subtotal $      200,695.13
                                                                                                                                      Sales Tax
                                                                                                                                          Total $      200,695.13
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                        EXHIBIT C
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                        EXHIBIT D
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Prague Community Hospital
Direct Expenses Related to Covid 19
Through May 2, 2020

Accounts Payable
Vendor                                    Description                          Amount
Terrell Lumber                            COVID Isolation Materials               681.12
Beachlers Pharmacy                        Hydroxychloroquine                      105.00
Henry Schien                              Azithromycin                             40.05
Henry Schien                              MDI Spacer 1 Way Valve                  172.05
Henry Schien                              Albuterol Sulfate Inhal                 580.25
Cohesive Staffing Solutions INV 1719      Telehealth Screenings                   619.15
                                          Telehealth Screening & Employee Sent
Cohesive Staffing Solutions INV 1725      home as precaution                      741.05
Cohesive Staffing Solutions INV 1731      Telehealth Screenings                   619.15
Cohesive Staffing Solutions INV 1737      Telehealth Screenings                   619.15
Cohesive Staffing Solutions INV 1743      Telehealth Screenings                   507.60

Contract Labor
Period End
                              3/21/2020                                        17,592.77
                               4/4/2020                                        21,344.25
                              4/18/2020                                        13,196.82
                               5/2/2020                                        12,926.24


Total Direct Expense                                                           69,744.65
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                        EXHIBIT E
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Prague Community Hospital
Direct Expenses Related to Covid 19
Through May 2, 2020

Accounts Payable
Vendor                                Description                          Amount
Walmart                               Liners to cover supplies                 28.34
                                      Storage Boxes & Drawer Organizer for
Walmart                               ER Supplies                              31.34
Walmart                               Bias Tape to Sew Staff PPE Mask           8.67
Walmart                               Cover ER supplies                        14.19
Walmart                               Cover ER supplies                        45.19
                                      Rod to hang divider & Sprayer to mix
Stigler Home Center                   bleach cleaning srpay                    26.22




Contract Labor
Period End




Total Direct Expense                                                         153.95
